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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiff,                                       4:13MJ3046-01

        vs.
                                                           TEMPORARY DETENTION ORDER
SCOTT COYNE,

                        Defendant.

        Pending the detention hearing in this case scheduled for May 21, 2013,

        IT IS ORDERED:

        The defendant is committed to the custody of the Attorney General or a designated
representative for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or held in custody pending appeal. The defendant must be
afforded a reasonable opportunity to consult privately with defense counsel. On order of United
States Court or on request of an attorney for the Government, the person in charge of the
corrections facility must deliver the defendant to the United States marshal for a court
appearance.




        May 16, 2013.

                                                 BY THE COURT:



                                                 s/ Cheryl R. Zwart
                                                 United States Magistrate Judge
